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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION

INFOGATION CORPORATION,             §
                                    §
              Plaintiff             §
                                    §
     v.                             §
                                         NO. 6:20-cv-0366
                                    §
GOOGLE LLC,                         §    JURY TRIAL DEMANDED
                                    §
              Defendant.
                                    §
                                    §


DECLARATION OF MARK LIANG IN SUPPORT OF DEFENDANT GOOGLE LLC’S
           MOTION TO TRANSFER UNDER 28 U.S.C. § 1404(a)
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       I, Mark Liang, declare as follows:

       1.      I am an attorney at the law firm of O’Melveny & Myers LLP, counsel for Defendant

Google LLC, in the above-entitled action. I have personal knowledge of the facts stated herein

and if called to testify could and would competently testify thereto.

       2.      Attached as Exhibit 1 is a true and correct copy of a chart regarding Median Time

               to Trial and Median Time to Claim Construction for jury trial for Marilyn L. Huff

               and the Western District of Texas.

       3.      Attached as Exhibit 2 is a true and correct copy of Defendant’s Reply in Support

               of Its Motion to Dismiss the Complaint (Dkt. #28), Google, Inc., v. InfoGation

               Corp., Case No. 3:16-cv-05821-VC (N.D. Cal.), filed on December 7, 2016.

       4.      Attached as Exhibit 3 is a true and correct copy of Plaintiff InfoGation Corp.’s

               Opposition to Defendants’ Motion to Dismiss (Dkt, #98), InfoGation Corp. v. HTC

               Corp.et al, Case No. 3:16-cv-01902-H-JLB (S.D. Cal.), filed on June 26, 2017.

       5.      Attached as Exhibit 4 is a true and correct copy of Dr. Qing Kent Pu’s Accurint

               Comprehensive Report, dated June 16, 2020.

       6.      Attached as Exhibit 5 is a true and correct copy of Dr. Hui Henry Li’s Accurint

               Comprehensive Report, dated June 16, 2020.

       7.      Attached as Exhibit 6 is a true and correct copy of InfoGation’s Initial Disclosures,

               InfoGation Corp. v. Huawei Technologies, et al., Case No. 3:16-cv-01903-H-JLB

               (S.D. Cal.), dated February 23, 2017.

       8.      Attached as Exhibit 7 is a true and correct copy of Dooyong Lee’s Accurint

               Comprehensive Report, dated June 22, 2020.

       9.      Attached as Exhibit 8 is a true and correct copy of Dooyong Lee’s LinkedIn

               account profile.



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10.   Attached as Exhibit 9 is a true and correct copy of excerpts from File History for

      U.S. Patent No. 6,292,743.

11.   Attached as Exhibit 10 is a true and correct copy of Huawei Defendants’ Initial

      Disclosures Pursuant to Fed. R. Civ. Proc. 26(a), InfoGation Corp. v. Huawei

      Technologies, et al., Case No. 3:16-cv-01903-H-JLB (S.D. Cal.), dated February

      23, 2017.

12.   Attached as Exhibit 11 is a true and correct copy of Stephen C. Beuerle’s

      professional biography from the law firm of Procopio, Cory, Hargreaves & Savitch

      LLP.

13.   Attached as Exhibit 12 is a true and correct copy of the Complaint (Dkt, #1),

      InfoGation Corp. v. ZTE Corp.et al, Case No. 3:16-cv-01901-H-JLB (S.D. Cal.),

      filed on July 27, 2016.

14.   Attached as Exhibit 13 is a true and correct copy of the Complaint (Dkt, #1),

      InfoGation Corp. v. HTC Corp.et al, Case No. 3:16-cv-01902-H-JLB (S.D. Cal.),

      filed on July 27, 2016.

15.   Attached as Exhibit 14 is a true and correct copy of the Complaint (Dkt. #1),

      InfoGation Corp. v. Huawei Technologies, et al., Case No. 3:16-cv-01903-H-JLB

      (S.D. Cal.), filed on July 27, 2016.

16.   Attached as Exhibit 15 is a true and correct copy of Defendant’s Notice of Motion

      and Motion to Dismiss Complaint (Dkt # 15), Google, Inc., v. InfoGation Corp.,

      Case No. 3:16-cv-05821-VC (N.D. Cal.), on November 9, 2016.

17.   Attached as Exhibit 16 is a true and correct copy of InfoGation’s Memorandum of

      Points and Authorities in Opposition of Defendants’ Motion to Stay (Dkt. #36),

      InfoGation Corp. v. Huawei Technologies, et al., Case No. 3:16-cv-01903-H-JLB

      (S.D. Cal.), filed on December 13, 2016.
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18.   Attached as Exhibit 17 is a true and correct copy the Order Granting Motion to

      Dismiss (Dkt. #37), filed in Google, Inc., v. InfoGation Corp., Case No. 3:16-cv-

      05821-VC (N.D. Cal.), on January 6, 2017.

19.   Attached as Exhibit 18 is a true and correct copy of the Order Denying Defendant’s

      Motion to Stay Without Prejudice (Dkt. #38), InfoGation Corp. v. Huawei

      Technologies, et al., Case No. 3:16-cv-01903-H-JLB (S.D. Cal.), filed on

      December 21, 2016.

20.   Attached as Exhibit 19 is a true and correct copy of the Claim Construction Order

      (Dkt. #74), InfoGation Corp. v. Huawei Technologies, et al., Case No. 3:16-cv-

      01903-H-JLB (S.D. Cal.), filed on May 5, 2017.

21.   Attached as Exhibit 20 is a true and correct copy of the letter from David S.

      Almeling to Ed Pennington and John Pennington, dated May 11, 2017.

22.   Attached as Exhibit 21 is a true and correct copy of the Order Granting Joint

      Motion for Dismissal and Directing the Clerk to Close the Case (Dkt. 114),

      InfoGation Corp. v. Huawei Technologies, et al., Case No. 3:16-cv-01903-H-JLB

      (S.D. Cal.), filed on October 27, 2017.

23.   Attached as Exhibit 22 is a true and correct copy of a printout of Google Maps

      driving distance from Laguna Beach, California to San Diego, California.

24.   Attached as Exhibit 23 is a true and correct copy of a printout of Google Flights

      from San Francisco, California to San Diego, California.

25.   Attached as Exhibit 24 is a true and correct copy of a printout of Google Flights

      from Seattle, Washington Francisco to San Diego, California.

26.   Attached as Exhibit 25 is a true and correct copy of a printout of Google Flights

      from San Francisco, California to Waco, Texas.



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       27.     Attached as Exhibit 26 is a true and correct copy of a printout of Google Flights

               from San Diego, California to Waco, Texas

       28.     Attached as Exhibit 27 is a true and correct copy of a printout of Google Flights

               from Seattle, Washington to Waco, Texas.

       29.     Attached as Exhibit 28 is a true and correct copy of the Order Denying Motion for

               Judgment on the Pleadings (Dkt. #59), InfoGation Corp. v. Huawei Technologies,

               et al., Case No. 3:16-cv-01903-H-JLB (S.D. Cal.), filed on March 27, 2017.

       30.     Attached as Exhibit 29 is a true and correct copy of the Order re: Plaintiff’s

               Amendment to Its Priority Date Disclosure (Dkt. #87), InfoGation Corp. v. Huawei

               Technologies, et al., Case No. 3:16-cv-01903-H-JLB (S.D. Cal.), filed on June 7,

               2017.

       31.     Attached as Exhibit 30 is a true and correct copy of Order Denying Without

               Prejudice Motion to Stay Pending Inter Partes Review (Dkt. #82), InfoGation

               Corp. v. Huawei Technologies, et al., Case No. 3:16-cv-01903-H-JLB (S.D. Cal.),

               filed on May 16, 2017.



       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed August 17, 2020, in San Francisco, California.

                                                             /s/ Mark Liang
                                                                 Mark Liang




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